                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI

TARVISIUM HOLDINGS, LLC, et al.,                    )
                                                    )
                      Plaintiffs,                   )
                                                    )
         v.                                         )       Case No. 4:19-CV-0086-DGK
                                                    )
DUKAT, LLC, et al.,                                 )
                                                    )
                      Defendants.                   )

PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUPPLEMENTAL SUGGESTIONS ON
 THE APPLICATION OF THE AUTOMATIC STAY AS TO THE NON-DUKAT, LLC
                           DEFENDANTS

         1.    As explained in Plaintiffs’ prior briefing on this issue, the New Jersey Bankruptcy

Court was to hold a hearing on August 17, 2021, to address the application of Dukat’s automatic

stay to Defendants Elliott and Mourad Kattan. Since filing Plaintiffs’ Reply Brief (Dkt. No. 254),

the undersigned counsel has learned that Defendants Schwartz and 36 Lower, Inc. also applied to

the New Jersey Bankruptcy Court for an extension of the automatic stay to them.

         2.    The New Jersey Bankruptcy Court has ruled on these issues. Accordingly, Plaintiffs

seek leave to file supplemental suggestions, not to exceed 2 pages, to address the import of those

rulings on or before August 20, 2021.




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                                         Respectfully submitted:

                                         ROUSE FRETS WHITE GOSS
                                         GENTILE RHODES, P.C.

                                         /s/ R. Todd Ehlert
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                              CERTIFICATE OF SERVICE

       The undersigned hereby confirms that on this 18th day of August, 2021, a copy of the
foregoing was filed via the Court’s electronic filing system, and a copy was mailed to the
following:

Elliott Kattan
28 Old Farm Road
Oakhurst, NJ 07755

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                                         /s/ R. Todd Ehlert
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